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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Bureau of Consumer Financial Protection,
Plaintiff,

VS.

Chou Team Realty, LLC f/k/a Chou Team
Realty, Inc., d/b/a Monster Loans, d/b/a
MonsterLoans et al.,

Defendants,

Thomas “Tom” Chou; and Sean Cowell,

Defendants and
Relief Defendants,

Kenneth Lawson; Cre8labs, Inc.; XO
Media, LLC; and TDK Enterprises, LLC

Relief Defendants

 

 

 

Case No. 8:20-cv-00043- JVS-ADS

RELIEF DEFENDANTS XO
MEDIA, LLC’S AND KENNETH
LAWSON’S REPLY
MEMORANDUM OF POINTS
AND AUTHORITIES IN
SUPPORT OF MOTION TO
DISMISS COMPLAINT

[Second Declaration of Kenneth
Lawson filed concurrently
herewith]

Assigned to Hon. James V. Selna

Hearing Date: June 15, 2020
Time: 1:30 p.m.

 

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MEMORANDUM OF POINTS AND AUTHORITIES

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L INTRODUCTION
Relief Defendants XO Media, LLC (“XO”) and Kenneth Lawson

(“Lawson” ) (collectively, “Lawson Relief Defendants”) cite several cases in clear
support of their argument that a party, including a passive investor, who pays
valuable consideration for alleged ill-gotten gains, possesses an ownership interest
in and legitimate claim to those funds that bar a relief claim against that party.
After presumably searching far and wide for any contrary authority, plaintiff
Bureau of Consumer Protection (“Bureau”), in its opposition to the Lawson Relief
Defendants’ Motion to Dismiss, has managed to come up with one lower court
case — one case — that purportedly lends some credence to its claim to XO’s
distributions from the Student Loan Debt Relief (“SLDR”) Defendants. !

This solitary case involved a criminal family enterprise in which one of the
convicted defendants distributed insider trading profits to close relatives named as
relief defendants (one of whom didn’t pay a cent for her distribution) after
learning of, and in order to attempt to shield those distributions from, a Securities
and Exchange Commission civil investigation following the criminal case. On
such facts, it would have been shocking if the court did not order disgorgement of
those criminally ill-gotten gains received by “gratuitous transferees.”

A fact set like this could not be more distinguishable from the Lawson Relief
Defendant facts — an unrelated individual whose investment vehicle made arms-
length capital contributions to and received distributions from the SLDR
Defendants in the ordinary course of business, before those entities became aware
they were under investigation, and years before they were informed by the Bureau
that it intended to file this law enforcement action. Unlike in Aragon, XO and

Lawson did not receive distributions from the SLDR companies under a cloud, as

 

1 SEC y, Aragon Capital Management, LLC, 672 F. Supp. 2d 421 (S.D.N.Y.
2009)

 
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a purposeful shield to conceal alleged ill-gotten gains, and the Bureau has
presented no evidence whatsoever to that effect. As discussed more thoroughly
later, Aragon is unhelpful to the Bureau and its attempt to distinguish the ample

authority of the Lawson Relief Defendants fails.

With the law against them, the Bureau does what any litigant with a weak
case does: it engages in diversion. In this case, since the Bureau cannot
effectively attack the Lawson Relief Defendants’ defense on the merits, it attempts
to prejudice the Court against them by suggesting Lawson had culpable
knowledge of the SLDR Defendants’ alleged misdeeds. A distraction such as this
is a premeditated “low blow.” Lacking the conviction to name Lawson as a real
party in interest if it thinks he is culpable, the Bureau cowardly resorts to
insinuation and innuendo to attempt to taint his integrity and credibility. The Ninth
Circuit has chastised the government for the disingenuous and unsavory tactic of
referring to or implying a party’s wrongdoing while simultaneously naming him a
nominal defendant and thus denying him the same amount of due process afforded
an accused law violator. SEC v. Ross, 504 F.3d 1130, 1142 (9th Cir. 2007) (“the
Constitution [does not] permit[s]...use of the nominal defendant designation to
deprive one whose only plausible basis for liability is a violation of the securities
laws of either his right to full and formal service of process or his right to fully

litigate the question of his own liability under the securities laws.’’)

The Bureau wants but cannot have it both ways. If it thinks Lawson has
liability, it should amend the complaint and add him as a defendant. Otherwise, it

should refrain from irrelevant and prejudicial character assassination — which is

factually baseless in any event 2 — and the Court respectfully should disregard the

 

2 See Section VI, infra.

 
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declaration of the Bureau’s counsel and pertinent exhibits thereto which are the
vehicle for its attempted smear of Lawson.

Whether the relief defendant is a creditor, securities salesman, or investor,
the crucial element in each of the cases relied upon by the Lawson Relief
Defendants that rejected a relief claim was the payment of consideration in return
for the funds sought. Without consideration, the relief defendant is a mere
custodian/nominee (“gratuitous transferee”) and disgorgement is appropriate.
With consideration, a legitimate claim to the funds exists, subject matter
Jurisdiction over the claimant is lost, and disgorgement is denied. It is established -
indeed, the Bureau sought and obtained pre-complaint testimony confirming 3 -
that the Lawson Relief Defendants paid consideration - $150,000 to be exact - for
the distributions they received from the SLDR Defendants. This consideration
conclusively establishes the legitimacy of their claim to the funds in question.

For this fundamental reason, and as elaborated upon below, the Bureau’s
opposition fails to dent the Lawson Relief Defendants’ Motion to Dismiss.
Accordingly, it should be granted.

Il. FACTUAL BACKGROUND

Lawson is a businessman and investor, with a pristine legal record. In
twenty-five years of business and investing, he has never been the subject of a law
enforcement action or otherwise been accused of wrongdoing in any way. Second
Declaration of Kenneth Lawson, §2). (“2d Lawson Decl.)

XO, of which Lawson is the 90% owner, was the vehicle he used for
making investments in the SLDR Defendants. He also personally invested in

settling defendant CTR Realty dba Monster Loans and lost over $720,000 on that

 

3 Declaration of Colin Reardon (“Reardon Decl.), 45, Ex. B, filed with the
Bureau’s Opposition (“Opp.).

 
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investment. Jd. {| 3. That loss dwarfed XO’s returns from its SLDR company
investments, but because it was a loss, it is of no interest to the Bureau.

The Bureau is only interested in XO’s $150,000 investment in the SLDR
entities because that investment did turn a profit.4 It does not matter that the
Lawson Relief Defendants’ loss in Monster Loans was considerably greater than
their SLDR company returns, resulting in a significant net overall investment loss,
or that Monster Loans and the SLDR companies were effectively a single
integrated, common enterprise.> Since they netted a profit on their investment in
the SLDR component of that common enterprise, that is all the Bureau cares to
see, and it is going after that money with a vengeance in defiance of the
established fact the Lawson Relief Defendants paid valuable consideration for it.
Ill. CONSIDERATION IS THE SINE QUE NON OF A DEFENSE TO

A RELIEF CLAIM.

A relief defendant is not a real party in an action, but is typically a trustee,
custodian, depository or agent, without any claim to title or ownership, that is
joined to an action solely as a means of facilitating the collection of funds the
relief defendant is holding for a named defendant. S.E.C. v. Colello, 139 F.3d 674,
676 (9th Cir. 1998). It is merely a nominal defendant who “holds property ‘in a
subordinate or possessory capacity as to which there is no dispute.” S.E.C. yv.

Cherif, 933 F.3d 403, 414 (7th Cir. 1991) (internal quotes and citation omitted).

 

4 The Bureau suggests XO may not have provided consideration to two of the
SLDR Defendants, Direct Document Solutions, LP and Secure Preparation
Services, LP, yet still received an equity interest in each, thus making any
distributions received from them gratuitous transfers subject to disgorgement.
Opp. at 5-6. The Bureau is mistaken. See 2d Lawson Decl. §§ 10-14.

5 Complaint Jf 33-42 (alleging overlapping ownership and management between
Monster Loans and the SLDR entities and among the SLDR entities), Dkt. 1.

 
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What distinguishes a truly nominal defendant from an improper one - what
creates an ownership interest in and legitimate claim to the funds at issue - is
payment of valuable consideration for those funds. In each of the cases cited in the
moving papers in which a relief claim was dismissed, the dispositive element in
the decision was the presence of consideration. In Johnson v. Studholme, 619 F.
Supp. 1347, 1348-49 (D. Colo. 1985), aff'd sub nom. Johnson v. Hendricks, 833
F.2d 908 (10th Cir. 1987), the court dismissed relief claims against investors for
the essential reason that they had given value (paid consideration) for their
investment returns (“plaintiffs’ contention that the defendants were not purchasers
for value is...wrong because the value given by the investors was, of course, their
contributions and the risk that they may lose all or part of their investment....
While the scheme may have been illegal, from an economic perspective there is no
doubt that the innocent investors gave value.”).

In FTC vy. Direct Marketing Concepts, Inc., 648 F. Supp. 2d 202, 222-

223 (D. Mass. 2009), the court dismissed a relief claim against a shareholder in
the liability defendants, seeking disgorgement of a $1,545,305 shareholder
distribution, because “[t]he bare fact of that distribution” was not a sufficient
basis to order her to disgorge it....[there was] an insufficient equitable basis for
requiring her to forfeit a large sum which may have been a legitimate
distribution.” Implicit in the court’s holding is that the shareholder relief defendant
had paid valuable consideration for her ownership interest in the defendant
company and thus had a legitimate claim to her distribution. There can be no other
logical explanation for the court’s dismissal of the relief claim and allowing the

shareholder to keep the distribution.

In FTC v. LeadClick Media, LLC et al., 838 F.3d 158, 177 (2d Cir. 2016),
the court stated that "relief defendants who have provided some form of valuable

consideration in good faith . . . are beyond the reach of the district court's

 
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disgorgement remedy." (quoting Commodity Futures Trading Comm'n v. Walsh,

618 F.3d 218, 226 (2d Cir. 2011).

In Janvey v. Adams, 588 F.3d 831, 834-835 (5" Cir. 2009), certificate of
deposit (“CD”) investors were dismissed as relief defendants because they had
paid consideration for their deposits, which constituted a “sufficient legitimate
ownership interest to preclude treating [them] as relief defendants.”

In SEC v. Ross, 504 F.3d 1130, 1142 (9th Cir. 2007), this circuit recognized
that the payment of consideration, whether in money or in kind, creates an
ownership interest in and legitimate claim to funds received in return sufficient to
defeat a relief claim (relief defendant securities salesman had presumptive title to
commissions earned on his sales of unregistered securities as “compensation in
return for services rendered,” thus warranting reversal of district court’s exercise
of jurisdiction over him as a relief defendant).

A chief principle underlying a relief claim is the prevention of unjust
enrichment. It would be unjust - a windfall - to allow a third party who has come
into possession of ill-gotten gains to keep those gains if he or she has done nothing
to earn them - has provided no consideration, given up nothing — and thus has no
entitlement to them. In the absence of consideration, and thus of any legitimate
claim, the government’s interest in recovering ill-gotten gains from a nominal
defendant for the benefit of injured consumers or investors is supreme. In the
presence of consideration, its interest is not supreme, but must be balanced and
offset by the ownership interest and legitimate claim that is created by the
payment of consideration. In other words, a non-culpable party who has paid
consideration for tainted funds sought by the government is not unjustly enriched
by being allowed to retain them.

The fact of payment of consideration by the Lawson Relief Defendants for

the distributions they received from the SLDR Defendants has been established.

 
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Nevertheless, in the mind of the Bureau, its interest in recovering those

distributions is still supreme and overriding. Unfortunately for it, the law and
equity say otherwise. Upon proof of liability or through settlement, it has every
right to seek to recover every cent of ill-gotten gains it can from the defendants,
and indeed it has already scored a substantial settlement with Monster Loans and
some of its principals. Dkt. 90. It has no right to get back distributions earned by
the Lawson Relief Defendants through the capital contributions they made, at risk
of financial loss, to the SLDR Defendants.
IV. THE BUREAU’S ATTEMPT TO DISTINGUISH MOVANTS’
AUTHORITY FAILS.

The Lawson Relief Defendants’ facts are on all fours with the above
decisions and others cited in their moving papers, where the presence of
consideration for the funds in question was determinative in rejecting the
government’s relief claims. They paid valuable consideration — indeed, substantial
sums - for their ownership interests in the SLDR entities. That should be the end

of the story. Yet to keep the story going, the Bureau attempts to distinguish these

cases. It fails.

In contending that the Lawson Relief Defendants’ reliance on FTC v. Direct
Marketing Concepts is misplaced — that an implicit finding of consideration was
not the basis for rejection of the relief claim against the shareholder — the Bureau
itself misreads — or at least fails to appreciate the obvious basis for - the decision.
As stated, there is no logical explanation for the decision under appropriate relief
claim analysis other than the fact that the shareholder had paid value for her
distribution from the defendants — and that the court reasonably concluded she
had. The only evidence the FTC relied on in support of disgorgement was the
“bare fact” of a federal income tax return of the shareholder showing the
distribution. /d. at 222-223. It had no, or at least presented no, evidence to rebut a
fair, common sense presumption that a distribution the shareholder had reported

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on her tax return was for an investment that she had made in — consideration she
had provided to - the defendants. Had the distribution been gratuitous, without
consideration, the FTC surely had the opportunity to discover and prove it if it
could. In short, the FTC lost either because it took an ill-advised evidentiary
shortcut or it didn’t have the goods to show lack of consideration.

In contrast, the Lawson Relief Defendants have taken no shortcut. They
have presented evidence of consideration for the distributions they received from
the SLDR Defendants. For the same obvious reason — consideration - that the
relief claim was dismissed against the shareholder in Direct Marketing Concepts,
the relief claims should be dismissed against the Lawson Relief Defendants here.

The Bureau totally misreads and mischaracterizes FTC v. LeadClick Media
in endeavoring to distinguish that case. It misleadingly suggests the appellate court
reversed the district court’s ruling granting the FTC’s relief claim against the
parent company of the defendant because it disagreed with its conclusion that the
parent company’s advances to its subsidiary were gratuitous distributions and not
loans. Opp. at 17. In fact, the Second Circuit reversed not over a difference of
characterization of the advances (investments versus loans), but because it
disagreed with the lower court that a formal loan agreement was necessary to
evidence a creditor-debtor relationship sufficient to shield the subsidiary’s
repayments of the advances from disgorgement. Jd. at 178-79 (disagreeing with
the district court's conclusion that a formal loan agreement was required, holding
that the parent company was not a proper relief defendant because it had a
legitimate interest in the transferred funds, and concluding that the parent
company’s advances to its subsidiary-defendant “constituted 'valuable
consideration’ entitling it to repayment from the subsidiary.”)

The Bureau goes on to contend that decisions relied upon by the Lawson

Relief Defendants that dismissed relief claims in the context of a creditor-debtor

 
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relationship are distinguishable from an investor case such as this. Opp. at 17-18
(discussing SEC v. Founding Partners Capital Memt., 639 F. Supp. 2d

1291 (M.D. Fla. 2009) and Janvey v. Adams, 588 F.3d 831 (5th Cir. 2009)). It
cites no authority setting forth a coherent conceptual basis for such a distinction,
however, and never articulates one itself. Nor can it, because on the central
question on which the Lawson Relief Defendant cases were decided (and this case
should be decided) — the presence of consideration - the cases (whether creditor,
investor, or some other category) are indistinguishable.

The Bureau suggests there is a legally cognizable difference between a
creditor and an investor because the investor puts its “funds at risk in the hope of
profits.” Opp. at 13. There is not. There is no material distinction between an
investor relief defendant who receives a distribution from profits and a creditor
relief defendant who receives loan payments from operating funds. In either case,
the source of payment is the same: ill-gotten revenue from consumers - all of
which, not just the profits therefrom, is subject to disgorgement. Consumer Fin.
Prot. Bureau v. Gordon, 819 F. 3d 1179, 1195 (9" Cir. 2016) (“net revenues” is
basis for measuring recoverable unjust gains (citing FTC v. Commerce Planet,
Inc., 815 F. 3d 593, 603 (9"" Cir. 2016) (unjust gains measured by net revenues,
“the amount consumers paid for the product or service minus refunds and
chargebacks...not the defendant’s net profits.”) and FTC v. Gill, 265 F.3d 944,

959 (9" Cir. 2001) (“amounts consumers paid” is the proper basis for “amount

Defendants should be ordered to pay for their wrongdoing.”)).®

 

6 See also, FTC v. John Beck Amazing Profits, LLC, 888 F. Supp. 2d 1006, 1018
(C.D. CA 2012) (citing Gill); FTC v. Neovi, Inc., 2009 U.S. Dist. LEXIS 649
*29, 30 (S.D. CA 2009) (“appropriate measure of disgorgement is
[wrongdoer’s] total revenue.”

 
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Further, a creditor puts its funds at risk, too, in the hope, but with no
guarantee, of repayment.’ Indeed, risk, whether it be a creditor’s or an investor’s,
is part of their consideration for the payments they receive. Johnson v. Studholme,
619 F. Supp. 1347, 1348-49 (D. Colo. 1985), aff'd sub nom. Johnson v.
Hendricks, 833 F.2d 908 (10th Cir. 1987) (“plaintiffs’ contention that the

defendants were not purchasers for value is...wrong because the value given by
the investors was, of course, their contributions and the risk that they may lose all
or part of their investment....”) (Emphasis added.) Risk, as an element of
consideration, is a commonality, not a material differentiator, between a creditor
relief defendant and an investor relief defendant.

The Bureau also contends that the Lawson Relief Defendants’ reliance on
Johnson v.Studholme, a Ponzi scheme case in which a relief claim was dismissed
against investors, is misplaced because later Ponzi scheme decisions have upheld
relief claims against investors. While that is true, the Bureau overreads these
cases in suggesting they mean an investor relief defendant who paid value for his
profits from a Ponzi scheme nevertheless is always required to disgorge them, and

ignores facts from those cases that distinguish them from the present case.

In one of the cases it cites, SEC v. George, 426 F.3d 786 (6th Cir. 2005),
which involved several relief defendants, one received a “pricey diamond ring”
and $32,000 as gifts from the Ponzi schemer - obvious gratuitous transfers subject
to disgorgement. /d. at 798. Other relief defendants, while they had invested their
own money, received money back that “came not from profits on their

investments but from the investments of others.” /d. Another group tried to argue

 

7 That risk is all too plain to see in the Covid-19 world, in which lenders of all
types, extending credit to businesses big and small, face the clear danger of
default. Indeed, compared to recent stock market gains, creditor risk is far
greater than investor risk.

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that they were entitled to recover 100% of the money they had invested, even
though hundreds of other victims were getting back only 42% of their
investments. This claim was summarily shot down by the court, which said that
the relief defendants were not entitled to “preferential treatment” over other
investors, and noted that the use of “a pro rata distribution has been deemed
especially appropriate for fraud victims of a 'Ponzi scheme,' in which earlier
investors’ returns are generated by the influx of fresh capital from unwitting

newcomers rather than through legitimate investment activity." /d. at 799 (internal

citation omitted).

In CFTC v. Gresham, No. 09-cv-75, 2012 U.S. Dist. 2012 LEXIS 64293
*9 (N.D. Ga. May 7, 2012), another Ponzi scheme case cited by the Bureau,
disgorgement was ordered against relief defendants under the general rule that to
the extent innocent investors in a Ponzi scheme “have received payments in excess
of the amounts of principal that they originally invested, those payments are
avoidable as fraudulent transfers." (internal citations omitted).8 However, if the
relief defendants had been able to show that the funds they received came from
profits on their investments rather than from the investments of others, then they

would have had a legitimate claim to the payments and disgorgement would not

be appropriate. /d. (citing CFTC v. Walsh, 658 F.3d 194, 197 (2d Cir. 2011).9 See

 

8 In the Bureau’s opposition, this case is cited as CFTC v. Gresham, No. 09-
cv-75, 2012 WL 1606037 (N.D. Ga. May 7, 2012).

9 The Bureau seizes on a line in the opinion that relief defendants “were
investors, not creditors of the Ponzi scheme, and thus do not have a
legitimate ownership interest in the Ponzi scheme assets.” Jd. at *10. This is
dicta. As is clear from the opinion, had relief defendants been able to show
that the money they received came from the profits on their investments,
and not from other investors, as investors they would have had a legitimate
claim to the funds and not been subject to disgorgement. Jd. at *9.

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also, cited by the Bureau, SEC v. Donnan, No. 12-CV-2831, 2014 WL 11829334,
at *7-9 (N.D. Ga. Sept. 15, 2014) (same).

Ponzi scheme cases obviously present a unique situation in which an
innocent bona fide investor equitably nevertheless may be forced to disgorge all or
part of his investment for the common good of the defrauded investor class. Even
in that special circumstance, however, depending on the particular facts and
equities involved, an investor relief defendant (just like a creditor) who has paid
consideration, still has standing, contrary to the Bureau’s suggestion, to assert a
legitimate claim to distributions, and to prevail, over a demand for disgorgement.
The investor-creditor distinction the Bureau attempts to draw is, in short, a
distinction without a legal difference.

V. THE BUREAU’S CASES DO NOT SAVE THEIR RELIEF CLAIM.

Having failed to puncture any holes in the Lawson Relief Defendants’ case
law authority — and central argument that the presence of consideration defeats a
relief claim against an investor (or any type of relief defendant) - the Bureau’s last
shot at prevailing on the law are two district court cases from New York - one, in
all candor, unworthy of discussion, and the other distinguishable in myriad ways.

The first, CFPB v. NDG Fin. Corp., No. 15-CV-5211, 2016 U.S. Dist.
LEXIS 177756 (S.D.N.Y. Dec. 2, 2016), an action against relief defendants who
owned interests in and received dividends from an unlawful payday lending
scheme, devotes a total of 21 words to its determination that the complaint stated a
relief claim sufficient to defeat a motion to dismiss (“[t]hese funds, if obtained as

profits from activity that violated federal law, are proper subjects of a potential

future disgorgement order.”). /d. at *65.19 The opinion does not contain a scintilla

 

10 In the Bureau’s opposition, this case is cited as CFPB v. NDG Fin. Corp.,
No. 15-CV-5211, 2016 WL 7188792 (S.D.N.Y. Dec. 2, 2016).

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of analysis of the applicable legal standard for judging a relief claim and the
defense to it — ownership interest in and legitimate claim to the funds in question,
including the critical dispositive element of consideration — in relation to the
pleaded facts. Further, the 21 words are subordinate to the main issue decided,
which was not the ultimate merit of the claims against the relief defendants (who
were proper subjects only for “potential future” (i.e., still to be proven)
disgorgement), but whether the Bureau had the authority to bring a relief claim in
the first place. Jd. at *63-64. (Emphasis added.) The decision’s cavalier
conclusion, therefore, is of no value to the present case and deserves no weight.

The other case, a series of decisions, beginning with SEC v. Aragon Capital
Management, LLC, 672 F. Supp. 2d 421 (S.D.N.Y. 2009), is starkly
distinguishable. The defendants (a father and his three sons) were members of a
family criminal enterprise who had already pled guilty to and been convicted of
insider trading. Following the convictions, the SEC brought a civil action for
injunction, disgorgement, and civil penalties. In addition to naming the convicted
family members as defendants, it added two relief defendants, the wife and
daughter of the father. The relief defendants were limited partners in an entity
called Aragon, whose general partner was one of the convicted sons. The SEC
sought disgorgement of distributions that had been made to them by the son
because the Aragon account contained proceeds from the illegal insider trading.
On summary judgment, the district court ordered disgorgement of their
distributions, which was affirmed on appeal. SEC v. Rosenthal, 426 Fed. App’x 1,
3-4 (2d Cir. 2011).

The decision is readily distinguishable in the following ways:

First, criminality had been involved, which created a very different backdrop
from the present case.

Second, the relief defendants were not arms-length investors, but close

relatives of the defendants (a wife, daughter, and sister).

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Third, one of the relief defendants (the wife) had paid nothing for her
distribution. SEC v. Aragon Capital Management, 672 F. Supp. at 443-444.
Unlike the Lawson Relief Defendants, she was a “gratuitous transferee[].” Jd. at
444.

Fourth, contributions to Aragon had been made from proceeds of the illegal
insider trading and thus, unlike the source of the Lawson Relief Defendants’
contributions, were tainted. SEC v. Aragon Capital Advisors, LLC, No. 07-cv-919,
2011 U.S. Dist. LEXIS 82531 *12, 57, 62 (S.D.N.Y. July 26, 2011).!1

Fifth, it was found that the relief defendants did not pay fair consideration
for their distributions (the wife paid none!) because Aragon had been
“substantially funded” by other accounts (containing the tainted insider trading
profits), and the “sheer magnitude” of the distributions that were made to them
raised the strong inference that they “did not pay fair consideration and, therefore,
that they had no ownership interest in those distributions.” Jd. at *62-63.12

Sixth, and especially damning to the Bureau’s reliance on this case, the

distributions to the relief defendants were made - “engineered” - by the Aragon

 

11 The Bureau cites this case as SEC v. Aragon Capital Advisors, LLC, No. 07-cv-
919, 2011 WL 3278907 (S.D.N.Y. July 26, 2011). In connection with asserting
that Delaware limited partnership law discussed there somehow is relevant here (it
is not), the Bureau misleadingly implies that XO does not have an ownership
interest in the assets of the SLDR entities. Opp. at 6,15. In fact, it does. See
Declaration of Kenneth Lawson, Ex. 1 (Assure Direct Services, LP Agreement,
Section 2.7 (“no Partner...shall have an ownership interest in such property [of the
Partnership] other than as a Partner.”)) Dkt. 69. (Emphasis added.)

12 In finding a lack of fair consideration, the court still acknowledged that in the
case of a relief defendant who was a "a good faith purchaser for value of the assets
in her possession[,] . . . her assets would not be subject to disgorgement." (quoting
CFTC v. Walsh, 618 F.3d 218, 226-27 (2d Cir. 2011). Jd. at *62. The Lawson
Relief Defendants clearly meet that standard.

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general partner (the convicted son) in an attempt to shield them from the SEC
after he had become aware of the SEC’s civil investigation (“transfers from
Aragon to...Relief Defendants that Amir engineered...served the same purposes
as the transfers in Cavanagh, which was to shield the proceeds of securities law
violations from disgorgement.”). SEC v. Aragon Capital Management, 672 F.
Supp. at 441 and fn. 10. In contrast, distributions to the Lawson Relief
Defendants began in October 2015, almost two years before the SLDR
Defendants learned of the Bureau’s investigation in September 2017. 2d Lawson
Decl. 15.13 While there were some distributions afterward, they were made in
the ordinary course of business, with no allegation or evidence whatsoever of any
intent to shield ill-gotten gains, and there were none after the Bureau, wrapping up
its long investigation, gave notice to the defendants in June 2019 of their finding
of violations and intent to proceed with a law enforcement action. !4

The Bureau disputes the Lawson Relief Defendants’ contention that the
Complaint’s allegation that they had limited partnership interests in the SLDR
Defendants is an “admission of a legitimate claim to the funds,” by erroneously
representing that “courts” have recognized that limited partners who receive
profits traceable to unlawful conduct lack a legitimate claim to such funds and can
properly be named as relief defendants. Opp. at 22-23. The plural usage is
misleading on its face as the Bureau has found only one case, Aragon, that has
sustained a relief claim against a limited partner investor based on an actual
analysis of the claim versus a cavalier, unreasoned conclusion. And even under

that one distinguishable case, to state a relief claim against the Lawson Relief

 

13 The capital contributions the Lawson Relief Defendants made as consideration
for those distributions, which began in February 2015, had concluded by
October 2016, almost a year before awareness of the Bureau investigation. Jd.

14 The last distribution was November 2018. Jd.

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Defendants, the Bureau would have to allege that the Lawson Relief Defendants’
capital contributions to the SLDR Defendants were made from tainted funds and
that the distributions they received were “engineered” by the SLDR Defendants to
“shield” the proceeds of law violations from disgorgement. The Complaint does
not allege such facts, as required by the Bureau’s sole legal precedent, because, as
shown, such facts do not exist.

As demonstrated, the law is clearly on the Lawson Relief Defendants’ side,
not the Bureau’s. They meet the legal standard of “good faith purchaser[s] for
value” of the distributions they received from the SLDR Defendants, thus
exempting those assets from disgorgement. The only arrow left in the Bureau’s
quiver — that the Lawson Relief Defendants were not good faith purchasers —
widely misses the mark and proves nothing other than its bad faith.

VI. THE BUREAU’S “EVIDENCE” OF LACK OF GOOD FAITH IS
NON-EXISTENT AND NOTHING MORE THAN A TRANSPARENT
ATTEMPT TO SMEAR LAWSON.

The “Constitution [does not] permit[s]...use of the nominal defendant
designation to deprive one whose only plausible basis for liability is a violation of
the... laws of either his right to full and formal service of process or his right to
fully litigate the question of his own liability under the...laws.”). SEC v. Ross, 504
F.3d, 1130,1142 (9th Cir. 2007). The Bureau has trampled on this constitutional
commandment by introducing extraneous and wholly immaterial “evidence” of
“culpability” against Lawson to compensate for the lack of merit in its substantive
legal argument. If it had true confidence in its case, there would be no need for
such a diversion. A tactic such as this speaks only of desperation. Still, that does
not excuse the fact that it is inappropriate in the extreme to name someone as a
relief defendant, without the due process rights of an actual defendant, and then
level accusations of wrongdoing against him. It is doubly wrong to do so when the

accusations are factually baseless, as seen below in an exhibit by exhibit analysis

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of the information contained in Bureau counsel Colin Reardon’s declaration and in

the Second Declaration of Kenneth Lawson refuting the baseless accusations.

Reardon Decl., Ex. A — Why the Bureau thinks this shows culpability of Lawson
is ahead scratcher. Written in January 2015, at the very beginning of the student
loan-related operation, this email thread is discussing only the initial capitalization
of and projections for the business and Lawson, seeing it as an investment
opportunity, simply says, “Count me in.” It contains nary a word about the
business practices at issue.

Reardon Decl., Ex. B — A partial transcript of the investigational hearing of
settling defendant Sean Cowell by the Bureau, its only mention of Lawson is
Cowell’s confirmation, sought by the Bureau, of the fact that Lawson (through
XO) made a capital contribution to the business.

Reardon Decl., Ex. C — A partial transcript of the investigational hearing of non-
defendant Mikael van Loon, the minority member of XO, its only mention of and
relevance to Lawson is van Loon’s description of his business relationship with
Lawson, including years of investing together and their partnership in XO,
through which they invested in the SLDR entities. Because a document was
presented to van Loon which the Bureau purports indicates that at some
unspecified time he began to “understand potential wrongdoing orchestrated by
[defendant] Jawad Nesheiwat, then an employee of Monster Loans,” and because
van Loon and Lawson were partners in XO, the Bureau would like to impute this
purported understanding of “potential wrongdoing” of van Loon to Lawson. Opp.
at 20-21. Such inferential attribution is entirely unfounded. First, the purported
document purportedly evidencing van Loon’s understanding of potential
wrongdoing is not attached to Reardon’s declaration. Second, it mentions only
“potential,” not actual, wrongdoing. Third, van Loon does not actually testify to

any such understanding and the precise “potential wrongdoing” purportedly

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mentioned in the document is never actually described. Fourth, it relates only to
Monster Loans, not to the SLDR Defendants in which van Loon and Lawson were
invested, and which investment is the sole focus of the Bureau’s relief claim.
Fifth, Lawson has no recollection of discussing this part of van Loons’ testimony
with van Loon. 2d Lawson Decl. § 7. Finally, while Lawson did become aware
of potential problems with the way Nesheiwat was running the business, it was not
until late 2016-early 2017, well after XO had made capital contributions to the
SLDR entities. Upon becoming aware, he fully supported an investigation and
corrective measures, including the termination of Nesheiwat, the bad actor. Jd.
5, 7; Reardon Decl, Ex. K. As the transcript shows, from this point on, to protect
the limited partners’ interests and to keep them apprised of steps being taken to

eliminate the problems caused by Nesheiwat, van Loon monitored the business on

the limited partners’ behalf.

Reardon Decl., Exs. D-E — Not Applicable

Reardon Decl., Ex. F — This is another head scratcher, in that it is a letter from
settling defendant Sean Cowell’s counsel to the Bureau listing only his capital
contributions to the SLDR entities and having nothing to do with Lawson.
Reardon Decl., Ex. G — Not Applicable

Reardon Decl., Ex. H - Yet another head scratcher, this email from settling
defendant Thomas Chou to van Loon, with a copy to Lawson, simply discusses
that the student-loan related business was getting off to a slower start than
expected.

Reardon Decl., Ex. |— A July 2015 email from defendant David Sklar to
Lawson, van Loon, Chou, Cowell and others, it mentions that the student loan-
related business’s merchant processor was now processing payments from
consumers in 7-9 days, rather than over 45 days. The Bureau thinks this
purportedly shows that Lawson was aware that the SLDR companies were

illegally collecting advance fees, because preparation of documentation relating to

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a consumer’s application for debt relief couldn’t reasonably be completed in such
a short time. Opp. at 7. It is mistaken.

First, the email does not place the shortened processing period in any
temporal context; the processing referred to could just as easily have pertained to a
consumer payment made after the service was provided as before. It in no way
shows or supports an inference that prohibited advance fees were being collected,
much less with Lawson’s knowledge.

Second, this email was sent in the very early days of the business, long
before Lawson became aware of the problems associated with Nesheiwat, when he
had no reason to believe anything improper was occurring. Third, Lawson was a
passive investor, with no experience in any aspect of debt relief, including the
student loan debt relief industry. He wasn’t knowledgeable about — and had no
duty to be knowledgeable about — the specific laws and regulations governing the
student loan debt relief industry, including the prohibition imposed on advance
fees by the FTC’s Telemarketing Sales Rule. /d. §§ 4, 6, 8. While he has no
recollection of this five-year old email, given his excusable lack of expertise in the
industry, he would have had no reason to see this benign reference to shortened
payment processing time as the “red flag” the Bureau would have the Court think
it should have been. /d. § 8.

Reardon Decl., Ex. J— An April 2016 email from Dave Sklar to Lawson and
others that mentions a new cost-saving Experian data purchasing deal, this is
supposed to show, in the Bureau’s telling, that Lawson was aware that Experian
data was being purchased for an impermissible purpose in violation of the Fair
Credit Reporting Act (“FCRA). It shows nothing of the kind. First, the email was
written before the problems with Nesheiwat had been exposed and begun to be
addressed with the full support of Lawson. Second, it doesn’t discuss use of the
less expensive data, other than to say it was performing better. Third, that it was

apparently performing better would not have told Lawson that it was being used

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and performing in a way that was impermissible or illegal. Fourth, as stated above,
this email was written early on and Lawson, as a passive investor, had no
background or experience in the consumer credit or student loan debt relief
industries and no knowledge of the laws and regulations governing those
industries, including the FCRA and its restrictions on the use of consumer credit
reports. /d. {| 4, 6, 8. The inference that the Bureau wants the Court to draw, that
this email put Lawson on notice that the business was violating the FCRA, and
that such notice turned him into an after-the-fact bad faith purchaser for value in
the SLDR companies, is not only far-fetched, but, frankly, absurd.

Reardon Decl., Ex. K — A pre-complaint declaration submitted by Lawson to the
Bureau, it simply acknowledges what has been stated above, that nearly two years
after XO invested in February 2015, Lawson was made aware of problems
associated with Nesheiwat, including, as the declaration says, the “possible”
misuse of Experian consumer reports. The declaration states that upon discovery
of this possible misuse, an investigation was begun and “all necessary steps to
stop the practice and discipline any personnel who were involved in it” would be
taken.” And those steps were taken, including the firing of Nesheiwat. Reardon
Decl., Ex. K (§ 13). The declaration also states that had Lawson ever understood
any activity to be unlawful under the FCRA, “as an investor with a financial
interest in ensuring that my investment is not endangered by allegations of serious
wrongdoing by the business, I would have brought it to the attention of CTR
[Monster Loans] and asked that it be immediately investigated and stopped.” Jd.
Again, for the Bureau to suggest that Lawson’s being made aware long after
investing of the problems caused by Nesheiwat, and of the corrective action being
taken which he fully supported, nevertheless converts him into an after-the-fact
bad faith purchaser for value, is preposterous.

Reardon Decl., Ex. L — A May 2017 email thread not involving Lawson with

discussion of a need to find a new office location acceptable to Experian, it

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contains hearsay of a purported suggestion by Lawson at a prior investor retreat
concerning the area of a new location. The Bureau would like the Court to believe
that this is yet further evidence of Lawson’s post-investment knowledge of
impermissible use of consumer reporting data in violation of the FCRA because
the entity for which a location was being sought was a “sham mortgage business
to deceive Experian into issuing a new account so that they could continue to
funnel consumer reports to the Student Loan Debt Relief Companies.” Opp. at 8.
The email thread does not identify the business but the Bureau suggests it was
Defendant Lend Tech Loans, a mortgage brokerage. If so, it is of no help to the
Bureau in its attempt to smear Lawson, as he had told the Bureau, in his pre-
complaint declaration, that prior to being advised by his counsel in June 2019 of
the Bureau’s notice of intent to bring this action, he had “never heard of a
company called Lend Tech Loans” and “had no association or involvement with
such company and no knowledge of its business purposes and practices. Reardon
Decl., Ex..K.(9 22).

Reardon Decl., Ex. M — A September 2017 email exchange between David Sklar
and Lawson, referring to a business introduction made by Lawson that Sklar
expressed excitement about, and to the SLDR companies being very close to
regaining access to Experian data, with Lawson responding, “Sounds great
buddy,” the Bureau would have the Court believe this again shows Lawson was
aware that consumer reports were being used unlawfully. Again, the Bureau is
dead wrong. First, Lawson was responding positively to the report that the
introduction he had made appeared to be moving forward. Second, as a passive
investor without any expertise in the student loan debt relief business or any
authority over or involvement in the management and operation of the companies,
he did not know (and had no duty to know) the laws and regulations governing
their direct acquisition and use of the data from Experian. Thus, when informed

by this email that the SLDR entities were close to regaining access to the data, he

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had no reason to suspect that such anticipated use of the data was or might be
improper or illegal in any way. 2d Lawson Decl. §§ 4, 6, 8.

Reardon Decl., Ex. N — A September 2016 email from Nesheiwat to van Loon
and others, but not to Lawson, which mentions ordering data for the student loan
shops, the Bureau would seem to want the Court to make the double leap that this
shows that van Loon was aware at this time that such use of the data was illegal
under the FCRA and that he shared such knowledge and the email with Lawson.
There is no logical basis for making these leaps and, in fact, van Loon did neither.
Id. 7. Furthermore, the date of this email precedes the discovery of Nesheiwat’s
possible misuse of the Experian data.

Reardon Decl., Ex. O — Irrelevant to Lawson for the reasons stated in the
response to Exhibit N.

Reardon Decl., Ex. P - Irrelevant to Lawson for the reasons stated in the response
to Exhibit N. Neither awareness of FTC actions against other companies in the
student loan debt relief industry, nor a merchant processor’s request for assurances
that DocuPrep was “different” from them, nor a recognition of the need to provide
those assurances, as reflected in this email thread, proves, as the Bureau wishes it
would, that DocuPrep was just like those other companies. In any event, Lawson
is not on the thread and the date of the email, May 2016, is well before discovery
of the problems associated with Nesheiwat.

Reardon Decl., Ex. Q — A partial transcript of an investigational hearing of
Eduardo Martinez, it discusses the “shut down” of the business in September 2017
upon “hearing a rumor of a CFPB inquiry to one of their shops;” Lend Tech
Loans; and, with regard to Lawson, only that he and other investors received
payments thereafter from pre-shutdown account receivables. It is not unusual for
companies (nor an admission of anything) to cease, suspend, or modify operations
after learning they are or may be a subject of investigation by a powerful federal

law enforcement agency, so no fair inference of “guilty knowledge” can be drawn

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from that action. As stated, Lawson has testified that he had no knowledge of
Lend Tech Loans until the end of the Bureau’s investigation and official
notification this lawsuit was coming in June 2019. Reardon Decl., Ex. K (4 22).
The SLDR companies had been formally accused of nothing by the Bureau until
they received that notice. During that time, it was XO’’s right, as a bona fide
purchaser for value of distributions from the SLDR companies, to receive
distributions. The last distribution it received was in November 2018, seven
months before the Bureau’s notice of violation and intent to bring this action. 2d
Lawson Decl. 4] 15.

Reardon Decl., Ex. Q — Another headscratcher, these are checks from Defendant
Docs Done Right to Loki Investments. As Loki Investments is not a defendant,
and the Lawson Relief Defendants have no interest in that entity in any event,
their relevance to Lawson is not readily apparent.

Reardon Decl., Ex. S — Not Applicable.

This review of the Bureau’s evidence, or lack thereof, of Lawson’s
“culpable” knowledge of wrongdoing by the SLDR Defendants, and hence “bad
faith” as an investor in them (notably, no evidence is presented whatsoever of such
alleged culpability and bad faith at the time Lawson invested through XO),
reveals why the Bureau had no liability case against Lawson and could only name
him as a relief defendant. Yet without naming him as a defendant accused of
wrongdoing, it is essentially treating him as if he were one. The Bureau cannot
properly (and ethically) have it both ways. If it believes he is culpable (on more
evidence than has been presented here, certainly), it should amend the complaint
to name him as a defendant. Otherwise, frankly, it should stop the cheap shots and
stick to the facts that are relevant, which show that the Lawson Relief Defendants,
having paid fair consideration for their distributions from the SLDR Defendants,

should, as a matter of law, not be forced to disgorge them.

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VII. CONCLUSION

The Lawson Relief Defendants are not gratuitous transferees. They are bona
fide purchasers for value of the distributions they received from the SLDR
Defendants. Accordingly, those distributions are not subject to disgorgement. For
this and the foregoing reasons, and for those stated in their moving papers, the

Complaint against XO Media, LLC and Kenneth Lawson should be dismissed.

Respectfully submitted,

DATED: June 1, 2020 William I. Rothbard
Law Offices of William I. Rothbard
By: /s/ William I. Rothbard
William I. Rothbard
Attorney for Relief Defendants XO
Media, LLC and Kenneth Lawson

 

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CERTIFICATE OF SERVICE

I hereby certify that on the 1 day of June 2020, I caused a copy of the foregoing to be e-

filed and served via the Court’s electronic filing system to all parties and counsel receiving ECF

service.

/s/ William I. Rothbard
William I. Rothbard, Esq.

 
